Case 21-31954-swe11 Doc 143 Filed 06/07/22              Entered 06/07/22 21:12:18       Page 1 of 3



Joyce W. Lindauer
State Bar No. 21555700
Joyce W. Lindauer Attorney, PLLC
1412 Main Street, Suite 500
Dallas, Texas 75202
Telephone: (972) 503-4033
Facsimile: (972) 503-4034
COUNSEL FOR DEBTOR

Robin Phelan
State Bar No. 15903000
Phelanlaw
4214 Woodfin Drive
Dallas, TX 75220
Telephone: (214) 704-0222
CO-COUNSEL FOR DEBTOR

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                             §
                                                   §
2999TC ACQUISITIONS, LLC,                          §          CASE NO. 21-31954-swe
                                                   §
        Debtor.                                    §          Chapter 11


                       NOTICE OF APPEARANCE AND REQUEST FOR
                         SERVICE OF NOTICES AND PLEADINGS

        Robin Phelan, on behalf of 2999TC Acquisitions, LLC, respectfully requests that all
notices given or required to be given in this case and any case consolidated herewith, and all papers
served or required to be served in this matter, be given to and served upon the undersigned at the
said address.

                                               Robin Phelan
                                         State Bar No. 15903000
                                                Phelanlaw
                                           4214 Woodfin Drive
                                            Dallas, TX 75220
                                        Telephone: (214) 704-0222
                                       Email: robin@phelanlaw.org




Notice of Appearance and Request for
Service of Notices and Pleadings
Page 1
Case 21-31954-swe11 Doc 143 Filed 06/07/22           Entered 06/07/22 21:12:18   Page 2 of 3




        Dated: June 7, 2022.

                                                    Respectfully Submitted

                                                    /s/ Joyce W. Lindauer
                                                    Joyce W. Lindauer
                                                    State Bar No. 21555700
                                                    Joyce W. Lindauer Attorney, PLLC
                                                    1412 Main Street, Suite 500
                                                    Dallas, Texas 75202
                                                    Telephone: (972) 503-4033
                                                    Facsimile: (972) 503-4034
                                                    Counsel for Debtor

                                                    Robin Phelan
                                                    State Bar No. 15903000
                                                    Phelanlaw
                                                    4214 Woodfin Drive
                                                    Dallas, TX 75220
                                                    Telephone: (214) 704-0222
                                                    Co-Counsel for Debtor



                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 7, 2022, a true and correct copy of the
foregoing document was served via email pursuant to the Court’s CM/ECF system upon those
parties receiving electronic notice in this case listed below.

Katherine T. Hopkins
katherine.thomas@kellyhart.com

John J. Kane
jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com

Sherrel K. Knighton
Sherrel.Knighton@lgbs.com, Dora.Casiano-
Perez@lgbs.com;Sean.French@lgbs.com;Dallas.Bankruptcy@lgbs.com

Joyce W. Lindauer
joyce@joycelindauer.com,
dian@joycelindauer.com;deann@joycelindauer.com;12113@notices.nextchapterbk.com

Steven C. Metzger
smetzger@pmklaw.com

Notice of Appearance and Request for
Service of Notices and Pleadings
Page 2
Case 21-31954-swe11 Doc 143 Filed 06/07/22      Entered 06/07/22 21:12:18   Page 3 of 3




Russell Hale Neilson
hneilson@parkinslee.com, hneilson@ecf.courtdrive.com

United States Trustee
ustpregion06.da.ecf@usdoj.gov

Kyle Woodard
kwoodard@krcl.com, KWoodard@ecf.courtdrive.com



                                                  /s/ Joyce W. Lindauer
                                                Joyce W. Lindauer




Notice of Appearance and Request for
Service of Notices and Pleadings
Page 3
